
6 N.Y.2d 757 (1959)
Esther Abady, Individually and as Administratrix of The Estate of Raymond Abady, Deceased, Appellant,
v.
Pennsylvania Railroad Company, Respondent.
Court of Appeals of the State of New York.
Argued March 2, 1959.
Decided April 17, 1959.
A. Harold Frost, Frederick Mellor, Charles M. Mattingly, Jr., and Thomas P. Dwyer for appellant.
Joseph P. Allen and Thomas V. McMahon for respondent.
Concur: Judges DESMOND, DYE, FULD and BURKE. Chief Judge CONWAY and Judges FROESSEL and VAN VOORHIS dissent and vote to reverse upon the ground that the circumstantial evidence created a question of fact to be submitted to the jury.
Judgment affirmed, without costs; no opinion.
